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                UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

                                       )
Aaron Private Clinic Management        )
LLC.                                   )     Case No. 1:17-cv-01034-WSD
                                       )
Plaintiff,                             )
                                       )     Action for Violations of the
v.                                     )     Rehabilitation Act,
                                       )     29 U.S.C. § 701 et seq.
Frank W. Berry, in his Official        )     and the Americans with
Capacity as Commissioner for the       )     Disabilities
Georgia Department of Community        )     Act
Health; and, Nathan Deal, in his       )     42 U.S.C. § 12101 et seq.
Official Capacity as Governor of       )
Georgia.                               )     JURY TRIAL DEMANDED
                                       )
Defendants.
________________________________


     PLAINTIFF’S BRIEF IN OPPOSITION TO MOTION TO DISMISS



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        Plaintiff Aaron Private Clinic Management LLC (“APC”) files this Brief in

Opposition to Defendants’ Motion to Dismiss [Doc. 23]1 as follows:


                                INTRODUCTION

        The Supreme Court has declared that the Americans with Disabilities Act

(“ADA”), 42 U.S.C. §§ 12001 et seq., is the Congress’ “broad mandate” of

“comprehensive character” and “sweeping purpose” intended “to eliminate

discrimination against disabled individuals, and to integrate them into the

economic and social mainstream of American life.”2

        APC alleges that the Defendants discriminate against APC and disabled

individuals APC intends to treat, including pregnant women and their unborn

children, in violation of title II of the ADA, 42 U.S.C. §§ 12131 et seq., and

Section 504 of the Rehabilitation Act of 1973 (“RA”), 29 U.S.C. Sec. §§ 794 et

seq., and their respective implementing regulations.3 .

        APC brings this action to seek a judicial remedy under the ADA and the RA




1
 Defendant’s Motion to Dismiss is addressed to Plaintiff’s First Amended
Complaint [Doc. 19].
2
    PGA Tour, Inc. v. Martin, 532 U.S. 661, 675 (2001).
3
 For simplicity, this brief will refer to the “ADA” although, unless specified, the
arguments herein apply equally to the RA as well.


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arising from unlawful policies and conduct that unduly burden and block

expansion for addiction treatment to the disabled in Georgia, specifically,

O.C.G.A. Section 26-5-21 (“Licensing Moratorium”) and O.C.G.A. Section 26-5-

40 et seq.4 (“License Cap”) that illegally discriminate against the disabled,

including barring the Department of Community Health (“DCH”) from accepting

new licenses to expand, and imposing new burdensome rules on applicant’s

seeking to treat the disabled in Georgia. These rules illegally burden and block

APC from establishing an Opioid Treatment Program (“OTP”) in Georgia.5

          APC asks this Court to find and declare the Licensing Moratorium and the

License Cap facially invalid under the ADA and the RA, enjoin Defendants Frank

W. Berry, in his Official Capacity as Commissioner for the Georgia Department of

Community Health; and, Nathan Deal, in his Official Capacity as Governor of

Georgia, (collectively “Defendants”) prospectively from enforcing the Licensing

Moratorium and the License Cap, award APC damages, and provide APC other

relief.



4
  Specifically including, without limitation, O.C.G.A. Sections 26-5-46, 26-5-47,
26-5-48, and 26-5-58.
5
  An Opioid Treatment Program or ‘‘OTP’’ means a program or practitioner
engaged in opioid substitution treatment of individuals with an opioid agonist
medication [i.e., methadone].” 42 C.F.R. 1 Subpart A Sec. 8.2.


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                           STANDARD OF REVIEW

      On a motion to dismiss, the Court must construe all facts in the light most

favorable to the Plaintiff. Garfield v. NDC Health Corp., 466 F.3d 1255, 1261

(11th Cir. 2006).   A statute or rule that facially discriminates against disabled

individuals requires a “skeptical inquiry” under the ADA and RA. New

Directions Treatment Serv. v. City of Reading, 490 F.3d 293 (3rd Cir. 2007).


              ARGUMENT AND CITATION OF AUTHORITY


      A.    Plaintiff has standing to sue.
      Plaintiff has three separate and independent bases of standing--direct

injury standing; representational standing; and, associational standing under the

ADA. Any single one of these bases is sufficient to allow Plaintiff to recover on

all its claims. These bases for standing are discussed seriatum.

            1.      Plaintiff has standing based upon a “direct injury.”

      By illegally burdening and denying Plaintiff the opportunity to obtain a

license to serve the disabled, Defendants have inflicted an "injury-in-fact" upon

Plaintiff sufficient to guarantee "concrete adverseness" and to satisfy the

Supreme Court’s constitutionally-based standing requirements imposed by Art.

III. U.S. Const. art. III, § 2, cl. 1; Craig v. Boren, 429 U.S. 190, 194

(1976)(vendor has standing to challenge state statute based in part upon lost

                                         3
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sales from hypothetical customers to be served).

                   a)     Title II’s plain language provides Plaintiff standing.
      The enforcement provision of Title II affords “any person” the “remedies,

procedures, and rights” of the ADA when alleging discrimination on the basis a

disability. 42 U.S.C. § 12133. Similarly, the RA extends its remedies to "any

person aggrieved by any act or failure to act by any recipient of Federal

assistance . . . under section 794 of this title." 29 U.S.C. § 794a(a)(2). Courts

have construed the phrase "any person aggrieved" as an expression of

Congressional intent to accord standing to the fullest extent permitted by the

case and controversy provision of Article III. Weber v. Cranston School

Committee, 212 F.3d 41, 47 (1st Cir. 1999). Plaintiff has alleged it sustained

direct economic injuries proximately caused by the Defendants’ violations of the

ADA. Doc. 1 ¶¶ 56, 64, 67, 71, 73.

                   b)     Title II does not limit remedies to the disabled.
      As noted by the Fourth Circuit in A Helping Hand, although Title II

contains no express right to be free from discrimination because of association

with qualified individuals with disabilities, Title II's enforcement provision does

not limit its remedies to individuals with disabilities. Helping Hand, LLC v.

Baltimore County, Md, 515 F.3d 356, 364 (4th Cir. 2008). In fact, Title II


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expressly provides a remedy to "any person alleging discrimination on the basis

of disability in violation of section 12132." Id.; 42 U.S.C. § 12133 (emphasis

added); see also 1 U.S.C. § 1 (2000) (defining "person" to include various

entities). This broad language in the enforcement provision "evinces a

congressional intention to define standing to bring a private action ... as broadly

as is permitted by Article III of the Constitution." MX Group, Inc. v. City of

Covington, 293 F.3d 326, 334 (6th Cir. 2002)(quoting Innovative Health Sys.,

Inc. v. City of White Plains, 117 F.3d 37, 47 (2d Cir.1997); A Helping Hand, 515

F.3d at 364.

                    c)    Federal courts allow “direct injury” standing in
                          addiction clinic ADA cases.

      Federal courts hold that addiction clinics are entitled to bring a claim

under the ADA arising from an injury-in-fact they sustained because of their

association with ADA-protected persons. Id. at 363–64, citing with approval

MX Group, Inc. v. City of Covington, 293 F.3d at 335.

               2.   Plaintiff has representational standing.

                    a)    Federal courts endorse representational standing in
                          similar cases.

      In Hunt v. Washington State Apple Advertising Comm'n, 432 U.S. 333,

334 (1977), the Supreme Court established a three-part test for representational


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standing generally. Under Hunt, "an association has standing to bring suit on

behalf of its members [or constituents] when: (a) its members [or constituents]

would otherwise have standing to sue in their own right; (b) the interests it seeks

to protect are germane to the organization's purpose; and (c) neither the claim

asserted nor the relief requested requires the participation of individual members

[or constituents] in the lawsuit." Id., The Eleventh Circuit has endorsed this

approach and held whether an organization has “members” or “constituents” is

immaterial to Article III standing. Doe v. Stincer, 175 F.3d 879, 885 (11th Cir.

1999). All three elements of the Hunt standing criteria are satisfied in this case.

      The Supreme Court has also declared that vendors subject to statutory

sanctions or loss of sales have standing to assert the rights of their customers.

Craig, 429 U.S. at 194. In Craig, the Supreme Court held that a liquor vendor,

subject to sanctions and loss of license for violation of the statute, was a proper

party in interest to object to the enforcement of the allegedly discriminatory law,

because obedience to the law would cause loss of sales and disobedience risked

sanctions from the state. Id. "Accordingly," the Court explained, "vendors and

those in like positions have been uniformly permitted to resist efforts at

restricting their operations by acting as advocates of the rights of third parties

who seek access to their market or function." Id. Plaintiff is such a “vendor” in



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this case.

      The Supreme Court has endorsed representational standing in the

confidential healthcare context. Griswold v. State of Connecticut, 381 U.S. 479,

481 (1965)(clinic director has standing to assert rights of hypothetical patients).

Plaintiff has alleged that its prospective patients have suffered an injury that

would allow it to bring suit in their own right. . Doc. 1 ¶¶ 56, 64, 67, 71, 74

(Complaint).

                   b)     The Eleventh Circuit endorses representational
                          standing for the mentally ill.
      Drug addiction is a mental illness.6 Plaintiff alleges that it seeks to provide

medical and counseling services those suffering from this mental illness. Doc. 1

¶¶ 29, 74. The Eleventh Circuit has declared that “the standing of protection and

advocacy systems as representatives of the segment of our society afflicted with

mental illness is well-established in the law.” Stincer, 175 F.3d at 884. There is

no requirement that a party suing as a representative specifically name the

individual on whose behalf the suit is brought. Id. at 885-86, citing Church of

Scientology v. Cazares, 638 F.2d 1272, 1278 (5th Cir. 1981)("[T]he requisite for



6
 “Comorbidity: Addiction and Other Mental Illnesses,” National Institute on
Drug Abuse (2010)(drug addiction is a mental illness).


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representational standing ... is not necessarily an explicit statement of

representation but a close nexus between the organization and its members and

an allegation of injury to its members as a result of the action") (citations

omitted); Congress of Racial Equality v. Douglas, 318 F.2d 95, 102 (5th

Cir.1963) (upholding right of civil rights organization to assert the constitutional

rights of its members despite the fact that pleadings did not seek relief on behalf

of any specific member).

        In this case, individuals (including minors and the unborn) who are

addicted to opiates endure withdrawal symptoms that include abdominal

cramping, diarrhea, nausea, and vomiting (and are deemed qualified individuals

with a disability under the ADA).7 It’s not reasonable to expect that only these

persons must solely and exclusively represent themselves to challenge the

Defendants’ violations of the ADA.8 Therefore, under the Supreme Court’s and

the Eleventh Circuit’s principles of representational standing, Plaintiff is entitled

to assert the rights of its prospective mentally ill and disabled patients in this

case.

7
  Federal courts recognize that individuals addicted to opiates are qualified
individuals with a disability under the ADA. Mx Group, 293 F.3d at 337.
8
 “Opiate and Opioid Withdrawal,” Medline Plus Medical Encyclopedia
(2016)(https://medlineplus.gov/ency/article/000949.htm).


                                          8
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            3.     Plaintiff has associational standing under the ADA.
      The Eleventh Circuit has “made clear” that prospective medical providers

to the disabled have associational standing to bring ADA claim against state

entities. Mccullum ex rel. TF v. Orlando Reg'l Healthcare Sys., Inc., 768 F.3d

1135, 1142 (11th Cir. 2014)(“That much is clear.”)(citations). In Mccullum

(though involving a Title III claim itself), the Eleventh Circuit expressly

approved of cases that conferred associational standing involving Title II claims.

Mccullum, 768 F.3d at 1142.

                   a)    Federal courts find associational standing in Title II.
      Every federal circuit that has considered whether an addiction clinic has

standing under Title II of the ADA to bring a claim based on injuries resulting

from its association with the addicted persons it serves has found that the clinic

has standing. Addiction Specialists, Inc., 411 F.3d at 405-07; MX Group, 293

F.3d at 331-36; Innovative Health Sys., 117 F.3d at 46-48. A Helping Hand, 515

F.3d at 364; contra Todd v. Carstarphen, Case No. 16-cv-3729, February 17,

2017 at 53 (N.D. Ga., 2017). The Fourth Circuit in A Helping Hand found Title

II associational standing “particularly reasonable” when looking to “the text of

the statute as a whole and the accompanying legislative history.” Id.




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                    b)     Title II regulations provide associational standing.
      Congress specifically directed the Attorney General to promulgate

regulations implementing Title II that "shall be consistent with this chapter." 42

U.S.C. § 12134(a), (b); see also H. R. Rep. No. 101-485(111), at 52 (1990), as

reprinted in 1990 U.S.C.C.A.N. 445, 475 ("The Committee intends that the

regulations under title II incorporate interpretations of the term discrimination

set forth in titles I and III...."); H. R. Rep. No. 101-485(II), at 84 (1990), as

reprinted in 1990 U.S.C.C.A.N. 303, 367 ("[T]he construction of `discrimination'

set forth in section 102(b) and (c) and section 302(b) should be incorporated in

the regulations implementing this title."). Accordingly, the Attorney General

promulgated regulations implementing Title II that do indeed bar associational

discrimination. These regulations explicitly prohibit local governments from

discriminating against entities because of the disability of individuals with

whom the entity associates. 28 C.F.R. § 35.130(g).

      In addition, the Department of Justice has advised that Title II protects

individuals or entities from being denied or excluded from services, programs or

activities because of association with an individual with a disability. Id., app.

A.; Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 838

(1984)(courts should defer to agency interpretations of statutes unless they are



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unreasonable); contra Todd, Case No. 16-cv-3729, February 17, 2017 at 53

(N.D. Ga., 2017)(citing Chevron, no deference where statute is unambiguous).

                   c)       Federal courts reject Defendants’ standing argument.

      In A Helping Hand, the Fourth Circuit considered, and rejected

Defendants’ standing argument and found that an addiction clinic had standing

to bring claims under Title II of the ADA. A Helping Hand, 515 F.3d at 364

(citations); Mx Group, 293 F.3d at 326; contra Todd v. Carstarphen, Case No.

16-cv-3729, February 17, 2017 at p. 53 (N.D. Ga., 2017)(no associational

standing under Title II).

                   d)       Todd v. Carstarphen is distinguishable from this case.
      Defendants’ lone authority, this Court’s decision in Todd v. Carstarphen,

is clearly distinguishable from this case. Todd v. Carstarphen, Case No. 16-cv-

3729, February 17, 2017 (N.D. Ga., 2017). There existed no injury-in-fact or

traditional representational standing in Todd. Indeed, in Todd there was no

direct injury-in-fact. Id. at p. 35 (“Todd is not entitled to the public benefit she

seeks.”). Second, in Todd, the individuals whose rights the plaintiff sought to

associate with were not disabled. Id. at p. 4 (“The Plaintiff Children are not

disabled.”). This Court in Todd was simply not presented with a viable claim

arising from an ADA-protected individual.       Todd did not involve a close


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medical/counselor-patient relationship like in this case. Thus, Todd decided

solely an associational standing case and the analysis in Todd does not preclude

a finding of direct injury or representational standing in this case.

       In fact, this Court in Todd acknowledged that a “broad interpretation” of

Title II would allow “any person aggrieved” to bring a claim arising from

“discrimination against a disabled person.” Id. at n. 54 and 58. Such “broad

interpretation” is exactly what Congress intended under the facts of this case.

PGA Tour, 532 U.S. at 675.


      B.     The Licensing Moratorium and the License Cap violate the ADA.
      “Simply put, [an addiction] clinic cannot be treated differently than a

medical clinic that is serving as an ordinary medical clinic.” Freedom

Healthcare Servs., Inc. v. Zoning Hr’g Bd., 983 A.2d 1286, 1292 (Pa. Commw.

Ct. 2009), citing New Directions, 490 F.3d 293, 304. The Licensing Moratorium

and the License Cap violate the ADA because they discriminate against people

with disabilities on the basis of their disability, both on their face and by their

intent. Unlike similar medical businesses which are permitted to locate as of

right in Georgia, all new addiction treatment clinics are flatly and completely

barred by the Licensing Moratorium and the License Cap. Doc. 19 ¶¶ 44, 54

(Complaint).


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              1.    The Defendants’ rules are facially discriminatory.
      The Licensing Moratorium and the License Cap clearly single out clinics

serving the disabled. Doc. 19 § 48, 49 (moratoria on licensing and numerous

procedural burdens). The Third, Sixth, and Ninth Circuits have held that “a law

that singles out addiction clinics for different licensing procedures is facially

discriminatory under the ADA and the RA.” New Directions, 490 F.3d at 305;

MX Group, 293 F.3d at 344-45 (clinic cap violates ADA); Bay Area Addiction

Research & Treatment, Inc. v. City of Antioch, 179 F.3d 725, 730- 37 (9th Cir.

1999).

      A facially discriminatory law violates the ADA unless the treatment

program can be shown to pose a direct threat or significant risk to the health or

safety of others.9 The State of Georgia’s Licensing Moratorium and the License

Cap restricting addiction clinics are facially discriminatory because: (1)

addiction clinics are subjected to more restrictive standards than comparable

medical facilities; and (2) individuals seeking treatment at addiction clinics do

not pose a direct threat to the health or safety of others that would justify more




9
 New Directions, 490 F.3d at 306-07; Bay Area, 179 F.3d at 737; Habit, 235
F.Supp.2d at 29. .


                                         13
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burdensome treatment.10

             2.     Addiction clinics pose no significant risk.
      The Department of Justice’s ADA Title II Technical Assistance Manual

provides for a significant risk test: "An individual who poses a direct threat to

the health or safety of others will not be `qualified' as an individual protected by

title II." TA Manual § II-2.8000. “[T]his [significant risk] test ensures that

decisions are not made on the basis of "the prejudiced attitudes or the ignorance

of others." School Board of Nassau County v. Arline, 480 U.S. 273, 284 (1987),

cited in Bay Area, 179 F.3d at 736; New Direction, 490 at 303.

      Numerous federal courts have found that addiction clinics pose no

significant risk or direct threat to the health or safety of others.11

             3.     The Defendants’ rules are based on generalized
                    proliferation concerns.

      On their face, the Licensing Moratorium and the License Cap are based on

generalized proliferation concerns that federal courts have ruled violate the

ADA. Section I of Senate Bill 402 that created the Licensing Moratorium (and


10
  See also Habit, 235 F. Supp. 2d at 29; THW Grp., LLC v. Zoning Bd. of
Adjustment, 86 A.3d 330, 342-43 (Pa. Commw. Ct. 2014).
11
  See, e.g., Bay Area, 179 F.3d at 733; MX Group, 293 F.3d at 342; New
Directions, 490 F.3d at 306-7 (citations).


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subsequently adopted by Senate Bill 88 establishing the License Cap) sets forth

express “findings” that clearly manifest animus and fears of proliferation of

treatment options for opiate addicted persons. Specifically, Senate Bill 402 set

forth following general crime and proliferation concerns:

      Senate Bill 402 found: “There is a growing concern as to the numbers and

concentration of narcotic treatment programs located in certain parts of this state

and that concentration of such narcotic treatment programs is in cities along

Georgia's borders with neighboring states.” 2016 Ga. Laws 343 § 1(2).

Obviously, this amounts to an expression of concern that there is “too many

clinics” serving the disabled in the Georgia--despite the fact that 1,300

Georgians died of overdoses in 2015. Doc. 19 ¶ 35 (Complaint). This is akin to

communities in the Jim Crow South declaring there were “too many restaurants

serving black people (or Jews, etc.).” This language also amounts to saying

“there are too many disabled coming from out-of-state.”

      Senate Bill 402 also found: “There are reported and documented increases

in heroin addiction and overdoses throughout this state.” 2016 Ga. Laws 343 §

1(2). This statement appears to acknowledge the rational conclusion the

disabled are dying from lack of treatment and that more overdose deaths

indicates a need for more treatment for the disabled, not less.



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      Senate Bill 402 also found: “There is a grave concern over the public's

well-being concerning the potential abuses of methadone and its relationship to

geographic proximity….” 2016 Ga. Laws 343 § 1(4). This amounts to saying

we can’t allow people with opioid addiction in “too close proximity” to Georgia

communities. This is clearly a groundless, generalized fear of the disabled.

      Senate Bill 402 also found: “Georgia is eighth in population but third

nationally in the number of narcotic treatment programs.” 2016 Ga. Laws 343 §

1(5). Obviously, this amounts to a generalized proliferation concern that there

are “too many” or “an excessive amount of” clinics treating the

disabled.[A1][A2]

            4.      Rules based on generalized proliferation concerns violate
                    the ADA.
      Federal courts declare that generalized proliferation concerns, or

generalized fears of crime, are not a sufficient basis to discriminate under the

ADA. Innovative Health Sys., 931 F. Supp. at 240 ("Although a city may

consider legitimate safety concerns in its zoning decisions, it may not base its

decisions on the perceived harm from . . . stereotypes and generalized fears."),

cited with approval in Bay Area, 179 F.3d at 737. Indeed, numerous federal




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courts have relied on statements about proliferation to find discriminatory intent.

RECAP v. City of Middletown, 294 F.3d 35 (2nd Cir. 2002).12

        Federal courts hold that “community views may be attributed to

government bodies when the government acts in response to these views.”13 In

this case, in addition to holding their own discriminatory views, the Georgia

politicians apparently felt obligated to represent their constituents’ views and

were responsive to their constituents’ animus.14 [A3][A4]

              5.    Licensing moratoria violate the ADA.
        Federal courts hold that licensing moratoria on services for the disabled--

even if only temporary--violate the ADA . MX Group, 293 F.3d at 326; Pac.

Shores Properties, LLC v. City of Newport Beach, 730 F.3d 1142, 1149 (9th Cir.


12
  Id. at 50-51; see also Horizon House Dev. Servs. Inc. v. Twp. of Upper
Southampton, 804 F. Supp. 683, 690 (E.D. Pa. 1992) (a town official’s statement
that thirty group homes was “enough” for the town supported a finding of
discriminatory intent); Sunrise Development, 62 F. Supp. 2d at 768-76 (a
resident’s statement about an inundation of facilities that would alter the
character of the town supported a finding of likelihood of success on the merits
of a discriminatory intent claim).
13
     A Helping Hand, 515 F.3d at 366.
14
  Id. In Project Life, Inc. v. Glendening, the federal court found an ADA
violation based on the defendants’ “illegal acquiescence to [the] desire” not to
have a program for recovering addicts “located in ‘their backyard.’” Project Life,
Inc. v. Glendening, 139 F. Supp. 2d 703, 708 (D. Md. 2001); New Directions,
490 F.3d at 295.


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2013)(moratoria without legal basis violate the ADA); United States v. City of

New Orleans, Case No. 12-2011, April 24, 2013 (E.D. La., 2013)(licensing

moratoria are “actionable” under the ADA); CRC Health Group v. Warren,

Case No. 11-cv-196 (D. Me. 2012)(180–day moratorium violates ADA); Metro

Treatment of Maine v. City of Bangor, Case No. 16-cv-00433, November 15,

2016 at p. 5 (D. Me 2016) (moratorium violates ADA). Allowing “temporary

moratoria” to pass ADA muster would open the floodgates to “temporary”

measures that would make a mockery of civil rights laws (i.e., temporary

moratoria on clinics or restaurants serving blacks, Jews, etc.).

             6.     The Defendants’ rules fail the “rational basis” test.
      Legislation affecting disabled persons receives rational-basis review under

the Equal Protection Clause, Bd. of Trs. v. Garrett, 531 U.S. 356, 366–67

(2001). Under the rational basis test, a law will be upheld "upon a finding that

it is `rationally related to a legitimate state interest.'" City of Cleburne v.

Cleburne Living Ctr., Inc., 473 U.S. 432, 440 (1985). However, federal courts

routinely find that facially discriminatory rules (including moratoria) against

clinics serving the disabled fail this “rational basis” test. A Helping Hand, 515

F.3d at 358; Mx Group, 293 F.3d at 336-338; Addiction Specialists, 411 F.3d at

407; Pac. Shores Properties, 730 F.3d at 1149; Metro Treatment, Case No. 16-


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cv-00433, November 15, 2016 at p. 5.     The Licensing Moratorium and the

License Cap limits on expansion of treatment, in the middle of an epidemic, and

under policy goals of “there are too many clinics” and “we need time to study

the issue,” are not rational by any measure.

      Even a facially neutral rule can violate the ADA. Federal courts

determine whether a decision is intentionally discriminatory by considering the

rule’s historical background, the sequence of events leading up to the decision,

and its legislative or administrative history (including contemporaneous

statements by members of the decision-making body), among other factors.

RECAP, 294 F.3d at 49-50; A Helping Hand, 2005 WL 2453062, at *17;

Pathways, 133 F. Supp. 2d at 781-82.

      Under the ADA, a decision by a title II entity to deny a benefit is

intentionally discriminatory if it “was motivated by unjustified consideration of

the disabled status of individuals who would be affected by the decision.”

Pathways Psychosocial v. Town of Leonardtown, 133 F. Supp. 2d 772, 781 (D.

Md. 2001). 15 When a decision is “made in the context of strong, discriminatory



15
 See also A Helping Hand, 2005 WL 2453062, at *16; Tsombanidis v. West
Haven Fire Dep’t, 352 F.3d 565, 579-80 (2d Cir. 2003); RECAP, 294 F.3d at 49;
Horizon House, 804 F. Supp. at 695-97.


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opposition[, it] becomes tainted with discriminatory intent even if the decision

makers personally have no strong views on the matter.” Innovative Health Sys.,

117 F.3d at 49. This analysis cannot be performed based on the pleadings

alone.


         C.    Defendants’ intentional conduct entitles Plaintiff to damages.
         “To prevail on a claim for compensatory damages under either the RA or

the ADA, Plaintiff must show that Defendant violated his rights under the

statutes and did so with discriminatory intent. Plaintiff may prove discriminatory

intent by showing that Defendant was deliberately indifferent to his statutory

rights.” R.W. v. Bd. of Regents, 114 F. Supp. 3d 1260, 1288; Boynton v. City of

Tallahassee, 650 F. App’x 654, 658–59 (11th Cir. 2016)(“intentional” and

“deliberate indifference” are equivalent terms).

         In this case, Plaintiff has alleged intentional discrimination by virtue of the

enactment of facially discriminatory statutes. Doc. 19 ¶¶ 20, 49, 54, 55, 63, 66,

69, 70 and 71. In fact, the statutory findings in Section 1 of the Senate Bill 402

acknowledged, and as Plaintiff has alleged, an opioid epidemic is sweeping

Georgia. 2016 Ga. Laws 343 § 1. At the same time, the statutes intentionally

foreclose expansion of standard of care treatment to these same disabled people.

2016 Ga. Laws 343 § 2(e). This amounts to "both knowledge that a harm to a


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federally protected right is substantially likely [the right of the disabled to

addiction treatment] and a failure to act upon that . . . likelihood" [blocking

expansion of treatment in the face of an opioid epidemic that is killing them]).

Boynton, 650 F. App’x at 658–59.

      Federal courts hold facial discrimination is a type of intentional

discrimination under the Title II and can serve as proof of discriminatory intent.

Larkin v. Mich. Dep’t of Social Servs., 89 F.3d 285, 289 (6th Cir. 1996);

Bangerter v. Orem City Corp., 46 F.3d 1491, 1500-01 (10th Cir. 1995); First

step, Inc. v. City of New London, 247 F. Supp.2d 135, 150 (D. Conn. 2003). The

Licensing Moratorium and the License Cap are facially discriminatory and,

therefore, provides evidence of intentional discrimination in and of itself.


      D.     Defendants are not entitled to Eleventh Amendment immunity.

             1.     Defendants are not entitled to immunity under the ADA.

      Regarding Plaintiff’s ADA claims, Defendants are not entitled to

sovereign immunity under the Supreme Court’s Eleventh Amendment

abrogation analysis set forth in United States v. Georgia and City of Boerne v.

Flores. United States v. Georgia, 546 U.S. 151, 159 (2006); City of Boerne v.

Flores, 521 U.S. 507, 520–21 (1997).

      As to the Georgia criteria, Plaintiff has alleged Title II violations with


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sufficient specificity to satisfy its first two prongs—violations of Title II that

amount to a violation of the Equal Protection Clause. U.S. Const. amend. XIV,

§ 1 (“Equal Protection Clause”); Georgia, 546 U.S. at 159. Plaintiff’s claims

allege violations of the Equal Protection Clause. Doc. 19 ¶ 55.       Thus, it’s clear

that Plaintiff is making an “unequal treatment” claim.16

      The third prong of Georgia is then analyzed under the City of Boerne’s

three-part “congruent and proportional” criteria. Id., City of Boerne, 521 U.S. at

520–21.    As to the first prong of City of Boerne, Plaintiff’s alleges illegal

discrimination against it, and its prospective patients, as previously stated.

      As to the second prong of City of Boerne, the Eleventh Circuit has twice

construed Lane as foreclosing this prong’s analysis due to the overwhelming

nature of disability discrimination in the public fora.” Gaylor v. Ga. Dep’t of

Natural Res., Case No. 2:11-CV-288 (N.D. Ga. Aug. 15, 2012) at *16; see also

Lane, 541 U.S. 509.

      As to the third prong of City of Boerne, the Supreme Court has cited

irrational regulations as one example of disability discrimination that supported



16
  Federal courts don’t require “magic words” in allegations sufficient to allow
an ADA claim to proceed. United States v. Hialeah Hous. Auth., 418 F. App’x
872 (11th Cir. 2011) (per curiam)(ADA claims require no “magic words.”)


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the need for Title II's prophylactic measures. Lane, 541 U.S. at 525. The Fourth

Circuit specifically endorsed Title II abrogation of Eleventh Amendment

immunity in cases involving regulation of addiction clinics. A Helping Hand,

515 F.3d at 361 n. 2.

      The Eleventh Circuit has concluded that Title II is a congruent and

proportional response to the danger of unconstitutional discrimination. See Ass’n

for Disabled Ams., Inc. v. Fla. Int’l Univ., 405 F.3d 954, 958-59 (11th Cir.

2005); see also Phiffer v. Columbia River Corr. Inst., 384 F.3d 791 (9th Cir.

2004) (upholding Title II’s abrogation in all applications), cert. denied, 546 U.S.

1137 (2006).

            2.     Defendants are not entitled to immunity under the RA.
      Regarding Plaintiff’s RA claims, state agencies accepting federal funds

waive Eleventh Amendment immunity and are deemed to consent to private

suits under the RA. Garrett v. Univ. of Ala. at Birmingham Bd. of Trs., 344 F.3d

1288, 1292-93 (11th Cir. 2003).


      E.    Plaintiff is entitled to declaratory and injunctive relief.
      Federal courts impose prospective injunctive relief under Title II to

address systemic, historical failures. Disabled in Action v. Bd. of Elections in

the City of N.Y., 752 F.3d 189, 201 (2nd Cir. 2014).   The Licensing Moratorium


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and the License Cap violates the ADA in an intentional, systematic way. This

law is not “inadvertent,” “accidental,” or “unintentional.” Rather, the rules

qualify as a “systemic” or “historical” violation and must be addressed by the

remedies provided under ADA Title II.

      Defendants argue that Plaintiff is not entitled to declaratory relief, but fail

to provide any basis for their contention. See Doc. 14-1, p. 24-25 (Defendants’

Brief). Indeed, declaratory relief is wholly appropriate and will provide a

“prompt resolution of the case” and requires no proof of irreparable injury. Fed.

R. Civ. Proc. 57; Steffel v. Thompson, 415 U.S. 452, 471-72 (1974)(no

irreparable injury required); United Merchants & Mfrs., Inc. v. Henderson, 495

F. Supp. 444, 446 (N.D. Ga. 1980)(appropriate to promptly resolve case).

      In this case, Plaintiffs have set forth a plausible claim that its rights, and

those rights of its prospective patients, have been violated by Defendants.

Plaintiff has also alleged that there is no adequate remedy at law or violation of

this right during the pendency of the Licensing Moratorium and the License Cap.

Doc. 19 ¶ 36 (Complaint). Clearly, irreparable harm results when the Court

does not order injunctive relief as it is otherwise impossible to expand treatment

options to the disabled. Doc. 19 ¶¶ 62, 66, 69, 71, 73 (Complaint).




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                                 CONCLUSION

     Based on the foregoing arguments, Plaintiff prays that this Court denies

Defendants’ Motion to Dismiss.

     Respectfully submitted this May 19, 2017.

                                           s/James A. Dunlap Jr.
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1.D, I certify that the foregoing has been prepared

in 14-point Times New Roman type face, in compliance with Local Rule 5.1. See

N.D. Ga. Civ. R. 5.1, 7.1.D.

      This 20th day of April, 2017.

                                             s/James A. Dunlap Jr.
                                             James A. Dunlap Jr., Esq.




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                          CERTIFICATE OF SERVICE

      I certify that I have this day served the foregoing pleading with the Clerk of
Court using the CM/ECF system which will automatically send email notification

of such filing to the following attorneys of record:

      Roger Chalmers, Esq.
      Bradley Harder, Esq.

      I further certify that I have mailed by United States Postal Service the

document to the following non-CM/ECF participants: NONE.

      This May 19, 2017.

                                               s/James A. Dunlap Jr.
                                               James A. Dunlap Jr., Esq.




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